       Case 16-13968                   Doc 53           Filed 12/08/21 Entered 12/08/21 23:16:53                             Desc Imaged
                                                       Certificate of Notice Page 1 of 5
Information to identify the case:
Debtor 1
                         Misty R Walz Blanchard                                          Social Security number or ITIN   xxx−xx−9434
                                                                                         EIN _ _−_ _ _ _ _ _ _
                         First Name   Middle Name    Last Name
Debtor 2                                                                                 Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name    Last Name                           EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court   Northern District of Illinois

Case number:          16−13968


Order of Discharge                                                                                                                         12/18


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

               Misty R Walz Blanchard
               aka Misty Walz, aka Misty Blanchard

               If the trustee has filed and served a notice pursuant to Bankruptcy Rule 3002.1(f), and no statement is timely filed by
               the mortgagee in response, the mortgage addressed by the notice is deemed to be fully current as of the date of the
               notice.


               December 6, 2021                                                 For the court:            Jeffrey P. Allsteadt, Clerk
                                                                                                          United States Bankruptcy Court



Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                                   Most debts are discharged
                                                                                 Most debts are covered by the discharge, but not all.
                                                                                 Generally, a discharge removes the debtors' personal
Creditors cannot collect discharged debts                                        liability for debts provided for by the chapter 13 plan.
This order means that no one may make any                                        In a case involving community property: Special rules
attempt to collect a discharged debt from the                                    protect certain community property owned by the debtor's
debtors personally. For example, creditors cannot                                spouse, even if that spouse did not file a bankruptcy
sue, garnish wages, assert a deficiency, or                                      case.
otherwise try to collect from the debtors personally
on discharged debts. Creditors cannot contact the                                Some debts are not discharged
debtors by mail, phone, or otherwise in any                                      Examples of debts that are not discharged are:
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                                           ♦ debts that are domestic support obligations;
debtors damages and attorney's fees.
However, a creditor with a lien may enforce a                                           ♦ debts for most student loans;
claim against the debtors' property subject to that
lien unless the lien was avoided or eliminated. For
example, a creditor may have the right to foreclose                                     ♦ debts for certain types of taxes specified in 11
a home mortgage or repossess an automobile.                                               U.S.C. §§ 507(a)(8)( C), 523(a)(1)(B), or
                                                                                          523(a)(1)(C) to the extent not paid in full under
This order does not prevent debtors from paying                                           the plan;
any debt voluntarily. 11 U.S.C. § 524(f).


                                                                                              For more information, see page 2




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    ♦ debts that the bankruptcy court has                       ♦ debts for restitution, or damages,
      decided or will decide are not discharged                   awarded in a civil action against the
      in this bankruptcy case;                                    debtor as a result of malicious or willful
                                                                  injury by the debtor that caused
                                                                  personal injury to an individual or the
    ♦ debts for restitution, or a criminal fine,                  death of an individual; and
      included in a sentence on debtor's criminal
      conviction;
                                                                ♦ debts for death or personal injury
                                                                  caused by operating a vehicle while
    ♦ some debts which the debtors did not                        intoxicated.
      properly list;

                                                         In addition, this discharge does not stop
    ♦ debts provided for under 11 U.S.C. §               creditors from collecting from anyone else who
      1322(b)(5) and on which the last payment           is also liable on the debt, such as an insurance
      or other transfer is due after the date on         company or a person who cosigned or
      which the final payment under the plan             guaranteed a loan.
      was due;


    ♦ debts for certain consumer purchases                This information is only a general
      made after the bankruptcy case was filed if         summary of a chapter 13 discharge; some
      obtaining the trustee's prior approval of           exceptions exist. Because the law is
      incurring the debt was practicable but was          complicated, you should consult an
      not obtained;                                       attorney to determine the exact effect of
                                                          the discharge in this case.




Form 3180W                               Chapter 13 Discharge                              page 2
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                                                              United States Bankruptcy Court
                                                               Northern District of Illinois
In re:                                                                                                                 Case No. 16-13968-LAH
Misty R Walz Blanchard                                                                                                 Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0752-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Dec 06, 2021                                               Form ID: 3180W                                                            Total Noticed: 41
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 08, 2021:
Recip ID                 Recipient Name and Address
db                     + Misty R Walz Blanchard, 2 Highland Court, Woodridge, IL 60517-2228
24462355               + ATG Credit LLC, 1700 W Cortland Street, Suite 201, Chicago, IL 60622-1166
24462353               + Associated Allergists & Asthma Specialis, 1259 Rickert Dr., Suite 208, Naperville, IL 60540-8904
24462356               + Brightwater Capital LLC, 850 Concourse Pkwy S, Suite 120, Maitland, FL 32751-6144
24462363               + Dreyer, Foote, Streit, Furgaso, 1999 W. Downer Pl., PO Box 700, Aurora, IL 60507-0700
24462364               + Ed Hall, 27W704 Warranville Road, Warrenville, IL 60555-3906
24462365               + Equifax Information Services, LLC, 1550 Peachtree St. NW, Atlanta, GA 30309-2468
24462366               + Equifax Information Services, LLC, PO Box 740241, Atlanta, GA 30374-0241
24462369               + Experian Information Solutions, Inc., PO Box 4500, Allen, TX 75013-1311
24462368               + Experian Information Solutions, Inc., 475 Anton Blvd., Costa Mesa, CA 92626-7037
24462371               + Guardian Anesthesia Assoc, 2000 S. Ogden Ave., Aurora, IL 60504-7222
24462372               + Hatfield Portfolio Group, 2655 Millersport Hwy, Suite 165, Getzville, NY 14068-7006
24462373               + Illinois Attorney General, 100 West Randolph Street, Chicago, IL 60601-3271
24462380               + Northland Group Inc., 7831 Glenroy Rd., Suite 250, Minneapolis, MN 55439-3117
24462381               + Peoples Credit, Inc, POB 241, Plano, IL 60545-0241
24462383               + Sally Blanchard, 409 S. Union St., Aurora, IL 60505-4840
24462385                 TransUnion LLC, PO Box 2000, Chester, PA 19016-2000
24462386               + Valley Imaging Consultants, 2000 Ogden Ave., Aurora, IL 60504-7222
24462387                 Waubonsee Community College, Route 47 at Waubonsee Drive, Sugar Grove, IL 60554

TOTAL: 19

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
24462351               + Email/Text: kristin.villneauve@allianceoneinc.com
                                                                                        Dec 06 2021 22:07:00      Alliance One, 4850 Street Rd., Level C,
                                                                                                                  Feasterville Trevose, PA 19053-6643
24462357               + EDI: CAPITALONE.COM
                                                                                        Dec 07 2021 03:08:00      Capital One Bank, Attb: Bankruptcy Dept., PO
                                                                                                                  Box 30285, Salt Lake City, UT 84130-0285
24806148                   EDI: BL-BECKET.COM
                                                                                        Dec 07 2021 03:08:00      Capital One NA, c/o Becket and Lee LLP, PO Box
                                                                                                                  3001, Malvern PA 19355-0701
24462358               + Email/Text: contact@csicollects.com
                                                                                        Dec 06 2021 22:08:00      Certified Services Inc., PO Box 177, Waukegan,
                                                                                                                  IL 60079-0177
24462359               + EDI: COMCASTCBLCENT
                                                                                        Dec 07 2021 03:08:00      Comcast, One Comcast Center, Philadelphia, PA
                                                                                                                  19103-2899
24462360               + EDI: WFNNB.COM
                                                                                        Dec 07 2021 03:08:00      Comenity Bank/ Victoria's Secret, PO Box
                                                                                                                  182125, Columbus, OH 43218-2125
24462361               + EDI: CRFRSTNA.COM
                                                                                        Dec 07 2021 03:08:00      Credit First NA, BK 13 Credit Operations, PO Box
                                                                                                                  818011, Cleveland, OH 44181-8011
24462362               + EDI: CRFRSTNA.COM
                                                                                        Dec 07 2021 03:08:00      Credit First/CFNA, Bk13 Credit Operations, PO
                                                                                                                  Box 818011, Cleveland, OH 44181-8011
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District/off: 0752-1                                               User: admin                                                             Page 2 of 3
Date Rcvd: Dec 06, 2021                                            Form ID: 3180W                                                        Total Noticed: 41
24462367              + Email/Text: bknotice@ercbpo.com
                                                                                   Dec 06 2021 22:08:00     ERC, PO Box 23870, Jacksonville, FL
                                                                                                            32241-3870
24462370              + EDI: CRFRSTNA.COM
                                                                                   Dec 07 2021 03:08:00     Firestone Complete Auto Care, Credit First N.A.,
                                                                                                            PO Box 81344, Cleveland, OH 44181-0344
24462374                 Email/Text: rev.bankruptcy@illinois.gov
                                                                                   Dec 06 2021 22:08:00     Illinois Department of Revenue, Bankruptcy
                                                                                                            Section, PO Box 64338, Chicago, IL 60664-0338
24462376                 EDI: IRS.COM
                                                                                   Dec 07 2021 03:08:00     Internal Revenue Service, Centralized Insolvency
                                                                                                            Operation, PO Box 21126, Philadelphia, PA
                                                                                                            19114-0326
24462375              + Email/Text: des.claimantbankruptcy@illinois.gov
                                                                                   Dec 06 2021 22:08:00     Illinois Dept. of Employment Security, Office of
                                                                                                            Legal Counsel, 33 S. State St., 9th Floor, Chicago,
                                                                                                            IL 60603-2808
24462377              + Email/Text: PBNCNotifications@peritusservices.com
                                                                                   Dec 06 2021 22:07:00     Kohl's Credit, N56 W17000 Ridgewood Dr.,
                                                                                                            Menomonee Falls, WI 53051-7096
24462378              + Email/Text: PBNCNotifications@peritusservices.com
                                                                                   Dec 06 2021 22:07:00     Kohls/Capital One, PO Box 3120, Milwaukee, WI
                                                                                                            53201-3120
24462379                 Email/Text: bk@mbb.net
                                                                                   Dec 06 2021 22:07:00     Medical Business Bureau, 1460 Renaissance Dr.,
                                                                                                            Suite 400, Park Ridge, IL 60068
24770136              + EDI: MID8.COM
                                                                                   Dec 07 2021 03:08:00     Midland Credit Management Inc, as agent for
                                                                                                            Asset Acceptance, LLC, P.O. Box 2036, Warren,
                                                                                                            MI 48090-2036
24462382                 EDI: PRA.COM
                                                                                   Dec 07 2021 03:08:00     Portfolio Recovery Associates, PO Box 12914,
                                                                                                            Norfolk, VA 23541
24833339                 EDI: PRA.COM
                                                                                   Dec 07 2021 03:08:00     Portfolio Recovery Associates, LLC, successor to
                                                                                                            CAPITAL ONE, N.A., POB 41067, Norfolk VA
                                                                                                            23541
24712993                 EDI: Q3G.COM
                                                                                   Dec 07 2021 03:08:00     Quantum3 Group LLC as agent for, Comenity
                                                                                                            Bank, PO Box 788, Kirkland, WA 98083-0788
24462384              + EDI: SWCR.COM
                                                                                   Dec 07 2021 03:08:00     Southwest Credit, 4120 International Pkwy., Suite
                                                                                                            1100, Carrollton, TX 75007-1958
24796288              + Email/Text: bankrup@aglresources.com
                                                                                   Dec 06 2021 22:07:00     nicor gas, po box 549, Aurora il 60507-0549

TOTAL: 22


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
24462352        ##+           Armor Systems Company, 1700 Kiefer Dr., Suite 1, Zion, IL 60099-5105
24462354        ##+           Associated Pediatrics Of Fox Valley, 2121 Ridge Ave., Suite 101, Aurora, IL 60504-7001

TOTAL: 0 Undeliverable, 0 Duplicate, 2 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.
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District/off: 0752-1                                             User: admin                                                            Page 3 of 3
Date Rcvd: Dec 06, 2021                                          Form ID: 3180W                                                       Total Noticed: 41

Date: Dec 08, 2021                                       Signature:           /s/Joseph Speetjens




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 6, 2021 at the address(es) listed
below:
Name                            Email Address
Glenn B Stearns
                                mcguckin_m@lisle13.com

Jennifer A Filipiak
                                on behalf of Debtor 1 Misty R Walz Blanchard jmclaughlin@sulaimanlaw.com
                                Sulaiman.igotnotices@gmail.com;courtinfo@sulaimanlaw.com;SulaimanLawGroupLtd@jubileebk.net

Mohammed O Badwan
                                on behalf of Debtor 1 Misty R Walz Blanchard mbadwan@sulaimanlaw.com
                                mbadwan@sulaimanlaw.com;courtinfo@sulaimanlaw.com;Sulaiman.igotnotices@gmail.com;bkycourtinfo@gmail.com;ecfnotice
                                @sulaimanlaw.com;sulaiman.igotnotices@gmail.com;bkecf_sulaiman@bkexpress.info;r46351@notify.bestcase.c

Patrick S Layng
                                USTPRegion11.ES.ECF@usdoj.gov


TOTAL: 4
